Case 2:15-cr-14046-JEM Document 512 Entered on FLSD Docket 12/22/2016 Page 1 of 1

                       UN ITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                      Ft.Pierce D ivision
                      Case N um ber:16-14377-C IV -M A RTIN EZ-W H lTE
                          C ase Num ber:15-14046-C R-M AR TlNE Z

   DAVID ALLEN SPARKS,
         M ovant,


   UN ITED STATES O F A M ERICA ,
         Respondent.


                    ORDER ADO PTING M AGISTM TE JUDGE W HITE'S
                            R EPO R T A N D REC O M M EN DA TIO N
         THE M ATTER wasreferred totheHonorablePatrick A.W hite,United StatesM agistrate
   JudgesforaReportand Recommendation on M ovant'spr/se motion to vacate,filed pursuantto

   28U.S.C.j2255(ECFNo.11.M agistrateJudgeW hitefiledaReportandRecommendation
   (ECFNo.91,l'
              ecommendingthat(a)themotiontovacatebedenied;(b)thatnocertificateof
   appealabilityissue;and(c)thatthecasebeclosed.TheCourthasreviewedtheentiretsleand
   recordandnotesthatnoobjectionshavebeen filed.Aftercarefulconsideration,itishereby:
         ADJUDGED thatUnited StatesM agistrateJudgeW hite'sReportand Recom mendation

   (ECFNo.91isAFFIRM ED andADOPTED.Accordingly,itis:
         A DJU DG ED that

                Movant'sprosemotiontovacate,filedpursuantto28U.S.C.j2255 (ECFNo.
   11,isDENIED.
         2.     A certificate ofappealability isDENIED .ThiscaseisCLO SED,and allpending

   motionsareDENIED asM OOT.A finaljudgmentshallbeenteredbyseparateorder.
         DONEAND ORDERED inChambersatMiami,Florida,thiso dayofDecember,2016.


                                                          *f
                                                 JO S E M ARTIN EZ
                                                 > 1     STATES DISTR CT JUDGE
  Copiesprovided to:
  M agistrate Judge W hite
  A1lCounselofRecord
  D avid Allen Sparks,#08446-104
